

Matter of State Div. of Human Rights v Austin (2021 NY Slip Op 04197)





Matter of State Div. of Human Rights v Austin


2021 NY Slip Op 04197


Decided on July 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 01, 2021

Before: Renwick, J.P., Gische, Oing, Mendez, JJ. 


Index No. 450930/19 Appeal No. 14156 Case No. 2020-00402 

[*1]In the Matter of State Division of Human Rights, Petitioner,
vIrene Austin et al., Respondents.


Caroline J. Downey, State Division of Human Rights, Bronx (Michael K. Swirsky of counsel), for petitioner.



Application pursuant to Executive Law § 298 to enforce the order of petitioner State Division of Human Rights (DHR), dated January 17, 2018, which found that respondent Irene Austin subjected respondent Guadalupe Paleta to a hostile work environment in violation of the New York State Human Rights Law, awarded Paleta $5,000 plus interest for mental anguish and humiliation, and assessed a $10,000 civil penalty, plus interest, against Austin due to intentional conduct (transferred to this Court by order of Supreme Court, New York County [Lynn R. Kotler, J.], entered on or about September 12, 2019), unanimously granted, without costs.
DHR's findings that Austin subjected Paleta to a hostile work environment on the basis of her race and national origin, which caused Paleta mental anguish, are supported by "sufficient evidence on the record considered as a whole" (Executive Law § 298; see Matter of State Div. of Human Rights v Bystricky, 30 NY2d 322, 326 [1972]; see also Forrest v Jewish Guild for the Blind, 3 NY3d 295, 310 [2004]). Austin, who "defaulted in this proceeding, obviously failed to rebut a prima facie showing" of a hostile work environment (Matter of New York State Div. of Human Rights v Neighborhood Youth &amp; Family Servs., 102 AD3d 491, 491 [1st Dept 2013]).
The award of damages for mental anguish was appropriate under the circumstances (Executive Law § 297[4][c][iii]; see Matter of New York City Tr. Auth. v State Div. of Human Rights, 78 NY2d 207, 216-217 [1991]). Similarly, DHR providently exercised its discretion by setting the amount of the civil penalty at $10,000, after finding that Austin engaged in intentional harassing and demeaning conduct (Executive Law § 297[4][c][vi]; see Matter of New York State Div. of Human Rights v International Fin. Servs. Group, 162 AD3d 576 [1st Dept 2018]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 1, 2021








